

Matter of Howard v New York City Police Dept. (2024 NY Slip Op 05487)





Matter of Howard v New York City Police Dept.


2024 NY Slip Op 05487


Decided on November 07, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 07, 2024

Before: Kapnick, J.P., Kennedy, Scarpulla, Higgitt, JJ. 


Index No. 100416/23 Appeal No. 2986 Case No. 2023-06225 

[*1]In the Matter of Michael Howard, Petitioner-Appellant,
vNew York City Police Department, Defendant-Respondent.


Michael Howard, appellant pro se.
Muriel Goode-Trufant, Acting Corporation Counsel, New York (Elizabeth I. Freedman of counsel), for respondent.



Order and judgment, Supreme Court, New York County (Judy H. Kim, J.), entered on or about October 5, 2023, which denied the petition to vacate or annul a determination of respondent New York City Police Department (NYPD), dated February 6, 2023, denying petitioner's request, pursuant to the Freedom of Information Law, for an unredacted copy of a sprint sheet and an audio recording of a July 13, 2022 911 call, and granted respondent's cross-motion to dismiss the proceeding brought pursuant to CPLR article 78, unanimously affirmed, without costs.
While we agree with petitioner that the materials he seeks in this proceeding are not identical to those sought in a separate unsuccessful CPLR article 78 proceeding he commenced (see — AD3d &amp;mdash, 2024 NY Slip Op 04908 [1st Dept 2024]), we again find that the court properly denied the petition and granted respondent's cross-motion to dismiss. The court "properly balanced the privacy interests at stake against the public interests in disclosure of the materials requested and found that disclosure would result in an unwarranted invasion of privacy" (id. at *1; see Public Officers Law §§ 87 [2] [b], 89 [2]; Matter of Rhino Assets, LLC v New York City Dept. for the Aging [SCRIE Programs], 60 AD3d 538, 538-539 [1st Dept 2009]).
We have considered petitioner's remaining arguments and find them unavailing. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 7, 2024








